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                                                                          4                           IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          8   LUISA GONZALEZ, et al.,                                  No. C 06-02820 WHA
                                                                          9                  Plaintiffs,
                                                                         10     v.                                                     ORDER DECLINING TO IMPOSE
                                                                         11                                                            ADDITIONAL SANCTIONS FOR
United States District Court




                                                                              TEXACO, INC., TEXACO PETROLEUM                           ATTORNEYS’ UNREASONABLE
                                                                              COMPANY, INC., CHEVRON                                   AND INCOMPETENT ACTIONS
                               For the Northern District of California




                                                                         12   CORPORATION,
                                                                         13                  Defendants.
                                                                         14                                                  /

                                                                         15          On its own initiative pursuant to Federal Rule of Civil Procedure 11, the Court imposed
                                                                         16   sanctions against Attorneys Cristobal Bonifaz, Paul Hoffman and Terry Collingsworth for
                                                                         17   signing pleadings in this action without first doing reasonable and competent investigation. The
                                                                         18   court of appeals vacated the sanctions against Attorneys Hoffman and Collingsworth and held
                                                                         19   that in order to impose sanctions sua sponte pursuant to Rule 11, it must be found that their
                                                                         20   conduct was “akin to contempt.” It remanded for consideration of whether their actions met
                                                                         21   that heightened standard.
                                                                         22          Every incarnation of the complaint in this action — including the original complaint
                                                                         23   signed by Attorney Hoffman and the two amended complaints signed by Attorney
                                                                         24   Collingsworth — alleged that plaintiffs Gloria Chamba, Nixon Rodriguez and Luisa Gonzales
                                                                         25   contracted cancer (or represented a family member who had contracted cancer) due to exposure
                                                                         26   to pollution resulting from the Ecuadorian oil operations of defendants Texaco Inc., Texaco
                                                                         27   Petroleum Company, Inc., and Chevron Corporation. Depositions of these three plaintiffs
                                                                         28   eventually revealed that these claims were completely false. In fact, neither they nor their
                                                                              family members had cancer or had ever been diagnosed with cancer. Plaintiffs were not even
                                                                                Case 3:06-cv-02820-WHA Document 371 Filed 12/21/09 Page 2 of 2



                                                                          1   aware that a lawsuit had been filed in their names in the United States and none of them had
                                                                          2   specifically authorized such a suit. Plaintiffs’ counsel failed to reasonably and competently
                                                                          3   investigate whether these plaintiffs actually had cancer or had authorized legal action in the
                                                                          4   United States before filing suit. It may well be that malefactors of society should be sued for
                                                                          5   their wrongs but not even a malefactor should be sued on a totally baseless theory.
                                                                          6          Attorneys Hoffman and Collingsworth let the Court and our system down by
                                                                          7   prosecuting this meritless case without adequate care. Inasmuch as more than this has now
                                                                          8   been required by the Ninth Circuit, it is simply too problematic to say that their conduct was
                                                                          9   “akin to contempt.” Attorney Bonifaz was the principal wrongdoer and the most blameworthy
                                                                         10   for the conduct by plaintiffs’ team. He has paid the sanction imposed on him for his actions and
                                                                         11   has accepted primary responsibility for the wrongdoing. Accordingly, no further sanction will
United States District Court
                               For the Northern District of California




                                                                         12   be imposed by the Court on Attorneys Hoffman and Collingsworth.
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                                                                         14          IT IS SO ORDERED.
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                                                                         16   Dated: December 21, 2009.
                                                                                                                                WILLIAM ALSUP
                                                                         17                                                     UNITED STATES DISTRICT JUDGE
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